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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION              APR 2 6 2013
                                                                    Clerk, U.S. District Cour
    JASON LEE VAN DYKE,                                                  Texas Eastern

            Plaintiff,

       Y.                                          CASE NO. 4:18-CV-00247-ALM-
                                                                                CAN

    THOMAS RETZLAFF,
            Defendant.




     DEFENDANT S NOTICE OF DEATH THREATS MADE BY PLAINTIFF
                      JASON LEE VAN DYKE




     1. Plaintiff is Jason Lee Van Dyke; defendant is Tom Retzlaff.



    2. Van Dyke filed this lawsuit, in which he is seeking $100 million in

    damages from Retzlaff, on March 28, 2018, in the 341st District Court of

    Denton County, Texas, in which Van Dyke, in his SAC (ECF #7) accuses

    Retzlaff of defamation, intrusion upon seclusion, and tortious interference

    with a contract.



    3. Starting on or about March 28, 2018, Van Dyke sent a series of very

    threatening email messages:

       a) You better have your will made out Thomas. Im coming for YOU!



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       b) You are a dead man

       c) lol. you are a dead man. enjoy it while it lasts.

       d) No more lawsuit. See you this weekend with my rifle

       e) I don t use Twitter. I can't wait to see your fat ass on the other
          end of my scope. Did you know that a 190 grain 300 Winchester
          Ma num round travels at approximately 2,800 feet per second?

       f) What do you want on your polished rock, Tom? I’m coming for
          you. Sure as God’s vengeance I’m coming. Nobody will ever be
          harassed by you again. Youre taking a dirt nap.

       g) Kill yourself, Tom.

       h) Did you know that, when I strangle you, that you could be
          conscious to feel all of that pain for up to three minutes before
          brain death occurs? What kind of vegetable would you like to be
          for the rest of your life? How about a turnip?


      4. Each of these emails was sent from the same email account that Van

         Dyke has registered with the State Bar of Texas and with PACER:

                           jason@vandykelawfirm.com


     5. The emails were sent from the following two IP addresses:

        a) 2600:387:l:813::7a, which is registered to AT&T Wireless; and,

        b) 108.221.148.128, which is registered to AT&T U-verse and geo-
           locates to Aubrey, Texas, which is where Van Dyke lives / works.




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     6. This, of course, is in addition to all of the social media posts from Van

    Dyke that I complained about before in which he threatens to murder me and

    my family, and many others. As well as calling people niggers and faggots.



     7. These messages have been turned over to investigators with the State

    Bar of Texas and the Department of Public Safety. Retzlaff, who is a former

     state and federal law enforcement officer (and whose son is a current law

     enforcement officer), isn t about to tolerate any BULLSHIT from a racist

    piece of shit like Van Dyke. I see hand cuffs in his future.



     8. These emails are a violation of Texas Penal Code §42.07

     (Harassment), subsection 2: ( a) A person commits an offense if, with

     intent to harass, annoy, alarm, abuse, torment, or embarrass another, the

    person: (2) threatens, in a manner reasonably likely to alarm the person

    receiving the threat, to inflict bodily injury on the person or to commit a

     felony against the person, a member of the person's family or household, or

    the person's property. ).



     9. Furthermore, these emails are also a violation of Texas Penal Code

     §22.07 (Terroristic Threat). Retzlaff would point out that saying No more

     lawsuit. See you this weekend with my rifle. is a pretty “immediate” threat

     against his life.


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    10. Retzlaff would also argue that Van Dyke is guilty of the 3 rd Degree

    felony offense of Obstruction or Retaliation Against A Witness, in violation

    of Texas Penal Code §3 6.06(a)(1)(A) and (a)(2)(A).


    11. In case the court has not figured it out by now, this case is a totally

    bogus SLAPP suit filed by a retarded person who is bent upon wasting as

    much of this court s time - and taxpayer money - as possible, while he goes

    down in flames. Texas is an at will state and Van Dyke did not have any

    employment contract with the Karlseng, LeBlanc & Rich L.L.C. law firm

    that authorized him to go on racist tirades on social media. Thus, there is no

     contract’ that Retzlaff could have interfered with, tortuously or otherwise.

    And ointing out other peoples’ PUBLIC social media posts is hardly an

     intrusion upon seclusion.’




    Respectfully submitted,




     Thomas Retzlaff
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     Phoenix, AZ 85063-6424
     (210)317-9800
     email:
     DEFENDANT, PRO SE


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                            CERTIFICATE OF SERVICE



          I certify that on April 23, 2018, a copy of this document was delivere

    to the US District Court Clerk s office by US Mail, which will automatically

    serve a Notice of Electronic Filing on the plaintiff Jason Van Dyke.

          I certify that Van Dyke is a registered CM/ECF user and that service

    will be accomplished by the CM/ECF system.




             Thomas Retzlaff




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